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                             UNITED STATES DISTRICT COURT
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                            CENTRAL DISTRICT OF CALIFORNIA
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 10     ARNET IVINING MAYS, JR.,                    Case No. 2:21-cv-6195-CAS (MAR)
 11                               Petitioner,
 12                         v.                      JUDGMENT
 13     ALEX VILLANUEVA,
 14                               Respondent(s).
 15
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 17          Pursuant to the Order Accepting Findings and Recommendation of United
 18    States Magistrate Judge,
 19          IT IS HEREBY ADJUDGED that this action is DISMISSED without
 20    prejudice.
 21
 22    Dated: November 24, 2021
 23
                                                HONORABLE CHRISTINA A. SNYDER
 24
                                                United States District Judge
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